OPINION — AG — **** SUPERNUMERARY JUDGES — RETIREMENT **** THE FIRST POSSIBLE RETIREMENT DATE FOR SUPERNUMERARY JUDGES WAS JANUARY 13, 1969. ALL SUPERNUMERARY JUDGES WERE RETIRED ON JANUARY 13, 1969. THE FIRST POSSIBLE RETIREMENT DATE FOR JUSTICES AND JUDGES WHO WERE SERVING ON MAY 9, 1968, AS A JUSTICE OR JUDGE OF THE STATE SUPREME COURT OR COURT OF CRIMINAL APPEALS WAS MAY 9, 1968. THE FIRST POSSIBLE RETIREMENT DATE FOR DISTRICT JUDGES AND SUPERIOR JUDGES OF THIS STATE SERVING IN SUCH CAPACITY ON MAY 9, 1968, WAS JANUARY 13, 1969, A JUSTICE OR JUDGE WHO IS RETIRED FOR PART OF A MONTH IS ENTITLED TO RECEIVE RETIRED PAY FOR THAT PORTION OF THE MONTH HE SERVED IN A RETIRED STATUS, AND HIS RETIRED PAY MUST BE PRORATED ACCORDINGLY, FOR EACH MONTH. HE SHOULD THEN RECEIVE HIS RETIRED PAY ON THE FIRST OF EACH MONTH THEREAFTER. RETIREMENT CREDIT IS DETERMINED AS OF THE DATE OF RETIREMENT. A JUSTICE OR JUDGE SHALL RECEIVE CREDIT FOR EACH YEAR HE HAS SERVED AS A JUSTICE OR JUDGE OF A COURT OF RECORD AND THE MAJOR FRACTION OF A YEAR SHALL COUNT AS A WHOLE YEAR. CITE: 20 O.S. 1969 Supp., 1102 [20-1102], 20 O.S. 1969 Supp., 1105 [20-1105], 20 O.S. 1969 Supp., 1106 [20-1106] (HOWARD O'BRYAN)